        Case 4:21-cv-00621 Document 1 Filed on 02/25/21 in TXSD Page 1 of 26




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

   CARRINGTON GILBERT,                         §
                                               §
            Plaintiff,                         §          C.A. No.:
                                               §
   v.                                          §          JURY DEMANDED
                                               §
   ZO SKIN HEALTH, INC.,                       §          Removed from the District Court of
                                               §          Harris County, Texas; 190th Judicial
            Defendant.                         §          District, Cause No. 2021-04626

                          DEFENDANT’S NOTICE OF REMOVAL

         Defendant ZO Skin Health, Inc. (“ZO”/“Defendant”) hereby removes this civil action from

the 190th Judicial District Court of Harris County, Texas, to the United States District Court for

the Southern District of Texas, Houston Division, pursuant to 28 U.S.C. § 1441(a) - (c), based on

diversity of citizenship. See 28 U.S.C. §§ 1332. In support of this Notice, Defendant states as

follows:

                                 I.      STATE PROCEEDING

         This is an employment lawsuit alleging unlawful discrimination, harassment, and

retaliation. Plaintiff Carrington Gilbert (“Gilbert” or “Plaintiff”) commenced a civil action against

Defendant in the 190th Judicial District Court of Harris County, Texas on January 25, 2021, styled

“Carrington Gilbert v. Zo Skin Health, Inc.,” Cause No. 2021-04626. There are no other parties to

the state court action. As required by 28 U.S.C. § 1446(a) and Local Rule 81, this Notice of

Removal is accompanied by (a) copies of all executed process in the case (none); (b) pleadings

asserting causes of action and all answers to such pleadings; (c) all orders signed by the state court

judge (none); (d) the docket sheet; (e) an index of matters being filed; and (f) a list of all counsel

of record, including addresses, telephone numbers, and parties represented. These items are
       Case 4:21-cv-00621 Document 1 Filed on 02/25/21 in TXSD Page 2 of 26




attached hereto as Exhibits A(1)-(E). Defendant agreed to waive service of process by Rule 11

agreement of the parties dated February 11, 2021. See Ex. A.1 This Notice of Removal is timely

filed pursuant to 28 U.S.C. § 1446(b).

                                  II.      DIVERSITY JURISDICTION

         The basis for this Court’s jurisdiction and the removal of this case to this court is 28 U.S.C.

§ 1332. Plaintiff is an individual and a citizen of Texas.2 Defendant employed Plaintiff, and

Defendant was – both during Plaintiff’s employment and at all times since then – incorporated in

California with its principal place of business in Irvine, California.3 Therefore, there is complete

diversity of citizenship between the parties. See Corfield v. Dallas Glen Hills LP, 355 F.3d 853,

857 (5th Cir. 2003). Additionally, the amount in controversy exceeds $75,000. That is because

Plaintiff seeks to recover back pay, lost earnings past and future, compensatory damages, punitive

damages, and attorneys’ fees.4 Further, the statements of relief sought in the Petition make clear

that the amount in controversy is more than $75,000.5 Based on the complete diversity of

citizenship between the parties and the amount in controversy, jurisdiction is proper under 28

U.S.C. § 1332.




1
  Defendant first received the state court petition and request for waiver of service from opposing counsel on January
27, 2021. The parties subsequently agreed that the answer date would be suspended until March 3, 2021, based on
the weather events the week of February 15.
2
   See Plaintiff’s Original Petition.
3
  See Declaration of Natasha Hodkinson (Ex. 1).
4
  See Plaintiff’s Original Petition.
5
  See, e.g., Acosta v. Drury Inns, Inc., 400 F. Supp. 2d 916 (W.D. Tex. 2005) (holding that it was facially apparent
that claim exceeded jurisdictional limits, because plaintiff sued for actual damages, compensatory damages, emotional
distress, punitive damages and attorneys’ fees under Texas Labor Code Chapter 21, even though petition did not state
amount plaintiff sought).


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      III.     REMOVAL TO THE SOUTHERN DISTRICT OF TEXAS IS PROPER

        The United States District Court for the Southern District of Texas, Houston Division,

includes the judicial district of Harris County, in which Plaintiff filed her Petition. Thus, venue in

this District and removal to this Court are proper pursuant to 28 U.S.C. § 1446(a).

               IV.     NOTICE TO STATE COURT AND OPPOSING PARTY

        Promptly upon the filing of this Notice of Removal, Defendant will file a Notice of Filing

Notice of Removal with the Clerk of the Harris County District Court, the state court where the

suit is pending, and serve a copy on Plaintiff through her counsel.

                                        V.      CONCLUSION

        Defendant respectfully requests that this Court exercise jurisdiction over this action, and

enter such further orders and grant such further relief as may be necessary to secure removal herein

and to prevent further proceedings in the 190th Judicial District Court of Harris County, Texas, and

further seeks all other relief to which it is justly entitled.

Dated: February 25, 2021                                 Respectfully submitted,
                                                         /s/ Kristin L. Bauer
                                                         Kristin L. Bauer
 OF COUNSEL:                                             Texas Bar No. 24006813
                                                         S.D. TX Bar No. 23790
                                                         JACKSON LEWIS P.C.
 Mical Lin                                               500 N. Akard St., Suite 2500
 State Bar No. 24086951                                  Dallas, TX 75201-6656
 S.D. TX Bar No. 2789055                                 (214) 520-2400 [Telephone]
 JACKSON LEWIS P.C.                                      (214) 520-2008 [Facsimile]
 1415 Louisiana, Suite 3325                              Kristin.Bauer@jacksonlewis.com [Email]
 Houston, Texas 77002
 (713) 650-0404 [Telephone]                              ATTORNEY-IN-CHARGE FOR DEFENDANT,
 (713) 650-0405 [Facsimile]                              ZO SKIN HEALTH, INC.
 Mical Lin@jacksonlewis.com [Email]

 ATTORNEYS FOR DEFENDANT,
 ZO SKIN HEALTH, INC.




                                                     3
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 d

                                 CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing document on February 25, 2021, with the clerk of
the Court of the United States District Court for the Southern District of Texas using the CM/ECF
system pursuant to the Court’s electronic filing requirements, which constitutes service of the filed
documents on all counsel of record as listed below:

       Andrew L. Mintz
       ANDREW L. MINTZ, PLLC
       2100 West Loop South, Suite 1125
       Houston, TX 77027
       andrew@almintzlawfirm.com

       ATTORNEY FOR PLAINTIFF

                                                      /s/ Kristin L. Bauer
                                                      Kristin L. Bauer 4829-4318-9978, v. 5




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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

     CARRINGTON GILBERT,                          §
                                                  §
              Plaintiff,                          §            C.A. No.:
                                                  §
     v.                                           §            JURY DEMANDED
                                                  §
     ZO SKIN HEALTH, INC.,                        §            Removed from the District Court of
                                                  §            Harris County, Texas; 190th Judicial
              Defendant.                          §            District, Cause No. 2021-04626

                                    INDEX OF MATTERS FILED

1.         Notice of Removal;

2.         Exhibit A - All executed process in this case;

3.         Exhibit B - Pleadings asserting causes of action, e.g., petitions, counterclaims, cross-
           actions, third-party actions, interventions and all answers to such pleadings;

4.         Exhibit C - All orders signed by the state judge;

5.         Exhibit D - The state Court’s docket sheet;

6.         Exhibit E - A list of all counsel of record, including addresses, telephone numbers and
           parties; and represented.
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

CARRINGTON GILBERT,                     §
                                        §
        Plaintiff,                      §          C.A. No.:
                                        §
v.                                      §          JURY DEMANDED
                                        §
ZO SKIN HEALTH, INC.,                   §          Removed from the District Court of
                                        §          Harris County, Texas; 190th Judicial
        Defendant.                      §          District, Cause No. 2021-04626


                                     EXHIBIT A

                       (All executed process in the state action)
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                             EXHIBIT
                                 A
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

      CARRINGTON GILBERT,                          §
                                                   §
               Plaintiff,                          §         C.A. No.:
                                                   §
      v.                                           §         JURY DEMANDED
                                                   §
      ZO SKIN HEALTH, INC.,                        §         Removed from the District Court of
                                                   §         Harris County, Texas; 190th Judicial
               Defendant.                          §         District, Cause No. 2021-04626

                                                EXHIBIT B

     (Pleadings asserting causes of action, e.g., petitions, counterclaims, cross-actions, third-party
                        actions, interventions and all answers to such pleadings)

1.          Plaintiff's Original Petition and Request for Disclosures;

2.          Request for Issuance of Citation;

3.          Defendant’s Original Answer to Plaintiff’s Original Petition, General Denial and
            Defenses
      Case 4:21-cv-00621 Document 1 Filed on 02/25/21 in TXSD Page 9 of 26                              1/25/2021 6:33 PM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 50017484
                                                                                                     By: Wanda Chambers
                                                                                                 Filed: 1/25/2021 6:33 PM

                                CAUSE NO. ______________
                                           2021-04626


CARRINGTON GILBERT                              §              IN THE DISTRICT COURT OF
    Plaintiff,                                  §
                                                §
                                                §                   HARRIS COUNTY, TEXAS
VS.                                             §
                                                §
ZO SKIN HEALTH, INC.                            §
      Defendant                                 §            _________
                                                              190TH    JUDICIAL DISTRICT



      PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Carrington Gilbert (“Gilbert”), Plaintiff in the above numbered and styled

cause, and files this Plaintiff's Original Petition complaining of ZO Skin Health, Inc. (“ZO” or

“Defendant”), Defendant herein, and for causes of action would respectfully show unto this

Court as follows:

                                    I. DISCOVERY PLAN

       1.     Plaintiff intends to conduct discovery in this matter pursuant to Track 2.

                                          II. PARTIES

       2.    Plaintiff Carrington Gilbert (“Plaintiff”) is an individual residing in Harris County,

             Texas.

       3.    Defendant ZO Skin Health, Inc is a corporation duly formed and existing under the

             laws of the State of California and may be served with process through its

             registered agent, CT Corporation System, located at 1999 Bryan Street, Suite 900,

             Dallas, Texas 75201-3136.
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                        III. JURISDICTION AND VENUE

 4.     This Court has jurisdiction over the subject matter in this litigation because the

        amount is in excess of the minimum jurisdictional limits of this Court. This Court

        has personal jurisdiction over Defendant because it conducts business in Texas.

        Venue is proper in Harris County, Texas pursuant to Tex.Civ.Prac.& Rem.Code

        Ann. § 15.002(a)(1) since it is the county in which the cause of action occurred.

                                     IV. FACTS

 5.      Plaintiff is a citizen of the United States.

 6.      Gilbert started working for ZO on September 3, 2019. On or around May 12,

 2020, she was terminated. At the time Gilbert was terminated, her job title was

 Account Executive.

 7.        In early November 2019, Gilbert told the Regional Sales Manager, Jackie

 Castaneda (“Castaneda”) that Gilbert was pregnant and that her due date was January 1,

 2020. Castaneda told Gilbert to share this news with Ms. Christina Phillips (“Phillips”) in

 Human Resources, which Gilbert did.

 8.        Prior to announcing her pregnancy, ZO had no issues with Gilbert’s work

 performance. However, after Gilbert informed ZO of her pregnancy, management began

 to question her ability to perform her job duties. Specifically, Castaneda repeatedly asked

 Gilbert how she would be able to do her job once she had her baby. Castaneda continued

 to make these comments to Gilbert after she gave birth to her child.

 9.        On December 19, 2019, Castaneda and ZO’s Chief Domestic Sales Officer,

 Nancy Marchain, told Gilbert her territory was being eliminated. It is important to note

 that Gilbert’s territory was the only territory that was (supposedly) being eliminated.


                                           2
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 Gilbert was told that in order to continue working for ZO, she would have to relocate to

 West Texas effective January 1, 2020 without any relocation assistance. This was an

 example of ZO harassing Gilbert due to her pregnancy.

 10.       Gilbert informed ZO that since her due date was January 1, 2020, she would be

 unable to move by the date, but that she would move after she gave birth.

 11.       Gilbert was on maternity leave approved by ZO from January 1, 2020 through

 March 2, 2020. Nonetheless, on February 18 Gilbert was told by Christina Philips that

 Gilbert should have returned from maternity leave on February 18, 2020. This was false

 and was yet another example of ZO harassing Gilbert because of her sex.

 12.    When Gilbert returned from her approved maternity leave on or about March 2,

 2020, ZO instructed her to fly back and forth to West Texas on a weekly basis in order to

 look for a home to relocate to. However, on March 12, 2020, Castaneda sent an email

 advising all Account Executives in Gilbert’s region to stop air travel effective that week

 due to Covid-19. From that date, Gilbert’s entire team was given the following

 instructions: a) not to travel to any customers and b) to work from home indefinitely.

 13.    On March 17, 2020, Gilbert received an email from Nancy Marchain that stated

 that Gilbert should continue to work remotely and to follow the COVID-19 guidelines set

 by her immediate area.

 14.     During this period of time when ZO ordered its employees to work from home

 indefinitely, Gilbert was (unlike anybody else in the Central West Region) required to

 have regular conference calls with Ms. Castaneda so that Castaneda could “check on

 Gilbert’s work progress.” This was yet another example of ZO harassing Gilbert because

 of her sex.


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      15.    On May 8, 2020, Ms. Castaneda asked Gilbert if she still planned to relocate to

      West Texas. Gilbert replied that she did. Nonetheless, on May 12, 2020, ZO fired Gilbert

      supposedly for “missing the deadline to move to West Texas.” This termination occurred

      despite the fact that ZO itself had told its employees as of March 12, 2020 to a) not to

      travel to any customers and b) to work from home indefinitely.

      16.     Gilbert’s job performance while working at ZO was outstanding. For example,

      in October 2019, she finished with the highest reorder rate in her region. In November

      2019, she finished with 109% to goal, and in December 2020, she finished at 121% to

      goal. Nevertheless, after she informed Defendant that she was pregnant and would be

      having a baby, Defendant started to harass Gilbert because of her pregnancy and

      ultimately terminated Gilbert due to her sex.

                     V. DISCRIMINATION BY EMPLOYER

A.    Sex Discrimination under §21.051 and §21.106 of Texas Labor Code

      17.     The facts set out in Section IV of this Petition give rise to a cause of action for

      sex discrimination as set forth in the Texas Labor Code.

      18.    According to § 21.051 of the Texas Labor Code, it is unlawful for an employer to

      discriminate against an employee because of their sex.

      19.     Defendant discriminated against Plaintiff because of her sex (female) by

      discriminating against her due to her pregnancy, treating her less favorably than

      similarly-situated male employees who were not pregnant, and terminating her because of

      her pregnancy and sex.

      20.    Plaintiff has suffered actual damages as a result of this discrimination and seeks to

      recover for such damages from Defendant. In addition, Plaintiff requests the Court grant


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       equitable relief in accordance with § 21.258 (b)(6) of the Texas Labor Code, to-wit: that

       Defendant be ordered to pay court costs in this action. Plaintiff further requests the Court

       order Defendant to pay all reasonable and necessary attorney’s fees to Plaintiff as

       allowed for in § 21.259 of the Texas Labor Code.

                                       VI. RULE 47 STATEMENT

       21.     Plaintiff seeks damages within the jurisdictional limits of this Court, including

monetary relief over $100,000. As stated in the comment to the 2013 amendment to Rule 47, this

statement is made solely for the purpose of providing information on the nature of the case, does

not affect Plaintiff’s substantive rights, and is made subject to Plaintiff’s right to amend.

                                       VII. JURY DEMAND

       22.     Plaintiff respectfully requests a trial by jury.

                                    VIII. NO FEDERAL LAW

       23.     Plaintiff does not cite and does not seek relief under any federal law.

                                  IX. REQUEST FOR DISCLOSURE

       24.     Plaintiff requests that Defendant disclose, within 50 days of the service of this

request, the information or material described in Texas Rule of Civil Procedure 194.2.

                                            X. PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to

appear herein, and that after trial by jury, this Court enters a judgment:

               A.      declaring that the acts and practices complained of herein are in violation
                       of Title 21 of the Texas Labor Code;

               B.      enjoining and permanently restraining these violations of Title 21 of the
                       Texas Labor Code;

               C.      directing Defendant to take such affirmative action as in necessary to
                       ensure that the effects of these unlawful employment practices are

                                                   5
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             eliminated and do not continue to affect Plaintiff’s employment
             opportunities;

       D.    directing Defendant to place Plaintiff in the position she would have
             occupied but for Defendant’s discriminatory and retaliatory treatment of
             her, and make her whole for all earnings she would have received but for
             Defendant’s discriminatory and retaliatory treatment, including, but not
             limited to, wages, pension, and other lost benefits, or, in lieu thereof,
             awarding Plaintiff damages for past lost wages, pension, and other lost
             benefits;

       E.    directing Defendant to pay Plaintiff front pay, including lost wages,
             pension and other lost benefits;

       F.    awarding Plaintiff compensatory and exemplary damages;

       G.    directing Defendant to pay Plaintiff compensatory damages and damages
             for her past and future mental anguish and humiliation;

       H.    awarding Plaintiff pre-judgment and post-judgment interest at the
             maximum legal rate;

       I.    awarding Plaintiff her reasonable attorney's fees;

       J.    awarding Plaintiff all costs of court; and

       K.    awarding Plaintiff such other and further relief, both general and special,
             at law and in equity, to which Plaintiff may show herself justly entitled
             under all attending facts and circumstances.

                                            Respectfully submitted,

                                             /s/ Andrew L Mintz
                                            Andrew L. Mintz
                                            Texas Bar No. 24037120
                                            andrew@almintzlawfirm.com
                                            ANDREW L. MINTZ, PLLC
                                            2100 West Loop South, Suite 1125
                                            Houston, Texas 77027
                                            Ph: (713) 859-3828
                                            Fax: (832) 626-0389

                                            ATTORNEY FOR PLAINTIFF
                                            CARRINGTON GILBERT



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CertifiedDocumentNumber:94086897-Page1of1
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     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 25, 2021


     Certified Document Number:        94086897 Total Pages: 1




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
documents are valid. If there is a question regarding the validity of this document and or seal
please e-mail support@hcdistrictclerk.com
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                                    CAUSE NO. 2021-04626

CARRINGTON GILBERT,                                §         IN THE DISTRICT COURT OF
                                                   §
                   Plaintiff,                      §
                                                   §
V.                                                 §           HARRIS COUNTY, TEXAS
                                                   §
                                                   §
ZO SKIN HEALTH, INC.,                              §
                                                   §
                   Defendant.                      §           190TH JUDICIAL DISTRICT

     DEFENDANT ZO SKIN HEALTH, INC.’S ORIGINAL ANSWER TO PLAINTIFF’S
            ORIGINAL PETITION, GENERAL DENIAL AND DEFENSES

        Defendant ZO Skin Health, Inc. (“ZO”/“Defendant”) files this Original Answer to

Plaintiff’s Original Petition, General Denial and Defenses (“Answer”) to Plaintiff’s Original

Petition and Request for Disclosures (“Petition”) and in support states as follows:

                                    I.          GENERAL DENIAL

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, ZO asserts a general denial to

each and every allegation in the Petition and demands that Plaintiff be made to prove her charges

by a preponderance of the evidence as required by the Constitution, statutes, laws and Rules of

Civil Procedure for the State of Texas.

                                          II.      DEFENSES

        Without waiving or limiting its right to plead further applicable defenses, ZO asserts the

following additional defenses and/or affirmative defenses:

        1.     Plaintiff’s claims are barred and/or recovery of damages is precluded in whole or

in part because Defendant exercised reasonable care to prevent any alleged unlawful

discrimination, harassment, and/or retaliation.




DEFENDANT ZO SKIN HEALTH, INC.’S ORIGINAL ANSWER TO
PLAINTIFF’S ORIGINAL PETITION, GENERAL DENIAL AND DEFENSES                                PAGE 1
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       2.        Plaintiff’s claims are barred in whole or in part because Defendant acted at all times

in compliance with applicable employment laws.

       3.        Defendant’s employment decisions were undertaken in good faith and on in

compliance with applicable law, including but not limited to the Texas Labor Code.

       4.        To the extent that Plaintiff’s claims are beyond the scope of the administrative

charges filed, her claims are barred for failure to exhaust mandatory administrative prerequisites.

       5.        Plaintiff’s claims are barred and/or recovery of damages is precluded because

Defendant exercised reasonable care to prevent and promptly correct any alleged discriminatory

and/or harassing behavior. See Burlington Indus., Inc. v. Ellerth, 524 U.S. 720, 765 (1998);

Faragher v. City of Boca Raton, 524 U.S. 775 (1998).

       6.        Plaintiff failed to undertake reasonable efforts to mitigate her damages.

       7.        Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations.

       8.        Plaintiff fails to state a claim upon which relief may be granted.

       9.        Defendant asserts the defenses of estoppel, laches, waiver, justification, and/or

unclean hands.

       10.       Plaintiff’s claim for punitive damages is barred to the extent that it is in violation

of the Constitutions of the United States and/or the State of Texas, or any other applicable law.

       11.       Any and all damages claimed by Plaintiff, whether compensatory, punitive, actual,

attorneys’ fees, costs, or otherwise, are subject to all statutory exclusions, caps, and limitations.

       12.       Plaintiff should not be awarded punitive damages because Defendant did not act

with malice or reckless indifference to her legally protected rights.




DEFENDANT ZO SKIN HEALTH, INC.’S ORIGINAL ANSWER TO
PLAINTIFF’S ORIGINAL PETITION, GENERAL DENIAL AND DEFENSES                                     PAGE 2
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       13.     Plaintiff’s claims are barred in whole or in part because unlawful actions taken by

managerial agents of Defendant, if any occurred, were contrary to Defendant’s good faith effort to

comply with the law.

                                          III.   PRAYER

       Defendant respectfully requests that Plaintiff take nothing in this suit; that her claims be

dismissed with prejudice; that all relief prayed for by her be denied; and that the Court enter final

judgment in favor of Defendant and against Plaintiff on all claims. Defendant further requests that

this Court award Defendant its attorneys’ fees, costs of court, and litigation expenses incurred in

connection with the defense of this matter as well as any other or additional relief as the Court

deems just and equitable.

                                                   Respectfully submitted,

                                                   /s/ Kristin L. Bauer
                                                   Kristin L. Bauer
                                                   Texas Bar No. 24006813
 OF COUNSEL:                                       JACKSON LEWIS P.C.
                                                   500 N. Akard St., Suite 2500
                                                   Dallas, TX 75201-6656
 Mical Lin                                         (214) 520-2400 [Telephone]
 State Bar No. 24086951                            (214) 520-2008 [Facsimile]
 JACKSON LEWIS P.C.                                Kristin.Bauer@jacksonlewis.com
 1415 Louisiana, Suite 3325
 Houston, Texas 77002                              ATTORNEY-IN-CHARGE FOR DEFENDANT,
 (713) 650-0404 [Telephone]                        ZO SKIN HEALTH, INC.
 (713) 650-0405 [Facsimile]
 Mical Lin@jacksonlewis.com

 ATTORNEYS FOR DEFENDANT,
 ZO SKIN HEALTH, INC.




DEFENDANT ZO SKIN HEALTH, INC.’S ORIGINAL ANSWER TO
PLAINTIFF’S ORIGINAL PETITION, GENERAL DENIAL AND DEFENSES                                   PAGE 3
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on February 25, 2021, Defendant ZO Skin Health, Inc.’s
Original Answer to Plaintiff’s Original Petition, General Denial and Affirmative Defenses was
electronically filed with the Court and served via electronic service and/or electronic mail in
accordance with the Texas Rules of Civil Procedure on Plaintiff’s attorney of record as follows:

       Andrew L. Mintz
       ANDREW L. MINTZ, PLLC
       2100 West Loop South, Suite 1125
       Houston, TX 77027
       andrew@almintzlawfirm.com

       ATTORNEY FOR PLAINTIFF


                                                   /s/ Kristin L. Bauer
                                                   Kristin L. Bauer
                                                    4849-6760-1118, v. 1




DEFENDANT ZO SKIN HEALTH, INC.’S ORIGINAL ANSWER TO
PLAINTIFF’S ORIGINAL PETITION, GENERAL DENIAL AND DEFENSES                              PAGE 4
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

     CARRINGTON GILBERT,                    §
                                            §
            Plaintiff,                      §          C.A. No.:
                                            §
     v.                                     §          JURY DEMANDED
                                            §
     ZO SKIN HEALTH, INC.,                  §          Removed from the District Court of
                                            §          Harris County, Texas; 190th Judicial
            Defendant.                      §          District, Cause No. 2021-04626

                                         EXHIBIT C

                             (All orders signed by the state judge)

1.        None
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

CARRINGTON GILBERT,                 §
                                    §
     Plaintiff,                     §          C.A. No.:
                                    §
v.                                  §          JURY DEMANDED
                                    §
ZO SKIN HEALTH, INC.,               §          Removed from the District Court of
                                    §          Harris County, Texas; 190th Judicial
     Defendant.                     §          District, Cause No. 2021-04626

                                 EXHIBIT D

                        (The state court’s docket sheet)
HCDistrictclerk.com             GILBERT,  CARRINGTON
                                        Case            vs. ZO
                                             4:21-cv-00621     SKIN HEALTH
                                                             Document         INC
                                                                        1 Filed on 02/25/21 in2/24/2021
                                                                                               TXSD Page 23 of 26
                                Cause: 202104626      CDI: 7    Court: 190

DOCUMENTS
Number        Document                                                         Post Date         Pgs
                                                                               Jdgm
94086896      Plaintiff's Original Petition and Request for Disclosure              01/25/2021   6
·> 94086897   Request for Issuance of Service                                       01/25/2021   1
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

   CARRINGTON GILBERT,                        §
                                              §
           Plaintiff,                         §         C.A. No.:
                                              §
   v.                                         §         JURY DEMANDED
                                              §
   ZO SKIN HEALTH, INC.,                      §         Removed from the District Court of
                                              §         Harris County, Texas; 190th Judicial
           Defendant.                         §         District, Cause No. 2021-04626

                                          EXHIBIT E

(A list of all counsel of record, including addresses, telephone numbers and parties represented)

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                                                  ZO SKIN HEALTH, INC.
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

CARRINGTON GILBERT,              §
                                 §
     Plaintiff,                  §         C.A. No.:
                                 §
v.                               §         JURY DEMANDED
                                 §
ZO SKIN HEALTH, INC.,            §         Removed from the District Court of
                                 §         Harris County, Texas; 190th Judicial
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                               EXHIBIT 1
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                                          CAUSE NO. 2021-04626

CARRINGTON GILBERT,                                    §           IN THE DISTRICT COURT OF
                                                       §
                         Plaintiff,                    §
                                                       §
V.                                                     §            HARRIS COUNTY, TEXAS
                                                       §
                                                       §
ZO SKIN HEALTH, INC.,                                  §
                                                       §
                         Defendant.                    §            190TH JUDICIAL DISTRICT



                              DECLARATION OF NATASHA HODKINSON

         I, Natasha Hodkinson, declare under the penalty of perjury as follows:

         1.            My name is Natasha Hodkinson. I am over the age of 18 years, am of sound mind,
                       and have personal knowledge of the facts stated in this declaration.

         2.            I am currently employed by ZO Skin Health, Inc. as Corporate Counsel. My office
                       is located at 9685 Research Drive, Irvine, California 92618. I have been employed
                       with ZO Skin Health, Inc. since May 21, 2012.

         3.            In connection with my position as Corporate Counsel for ZO Skin Health, Inc., I
                       am familiar with information regarding ZO Skin Health, Inc. and its corporate
                       operations. ZO Skin Health, Inc. has been incorporated in the state of California
                       since March 16, 2006. ZO Skin Health, Inc. has had its principal place of business
                       in the state of California since March 16, 2006. Specifically, its corporate
                       headquarters and principal place of business is located in Irvine, California.

       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct pursuant to 28 U.S.C. §1746.




                                                                          Natasha Hodkinson




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